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                                             State of New Jersey
PHILIP D. MURPHY                           OFFICE OF THE ATTORNEY GENERAL                                  MATTHEW J. PLATKIN
    Governor                             DEPARTMENT OF LAW AND PUBLIC SAFETY                                     Attorney General
                                                   DIVISION OF LAW
TAHESHA L. WAY                                          PO Box 45029                                       MICHAEL C. WALTERS
   Lt. Governor                                      Newark, NJ 07101                                            Acting Director


                                                      March 7, 2025

       VIA ECF
       Honorable Leda Dunn Wettre, U.S.M.J.
       United States District Court for the District of New Jersey
       Martin Luther King Jr. Federal Building & U.S. Courthouse
       50 Walnut Street
       Newark, New Jersey 07101

                      Re: United States, et al. v. Apple Inc.
                          Case No. 2:24-cv-04055 (JXN-LDW)
                          Pro Hac Vice Admission Motion on Consent

       Dear Judge Wettre:

               This Office, by and through the Attorney General Matthew J. Platkin, represents the
       Plaintiff State of New Jersey (“New Jersey”) in the above-captioned matter. This correspondence
       is respectfully submitted, in lieu of a notice of motion, in accordance with Your Honor’s judicial
       preferences, in support of New Jersey’s motion for an Order admitting pro hac vice Rachel
       Sowray, counsel for the Plaintiff State of Oregon. Defendant Apple Inc. consents to the pro hac
       vice admission of Ms. Sowray.

               In support of New Jersey’s motion, enclosed please find the Certification of Andrew F.
       Esoldi, Deputy Attorney General, and the certification of Rachel Sowray seeking pro hac vice
       admission to represent the Plaintiff State of Oregon. Also enclosed is a proposed Order.

               As set forth more fully in the enclosed certifications, pursuant to Local Rule 101.1(c), New
       Jersey will appear in this action, including all court appearances, on behalf of the Plaintiff State of
       Oregon, accept service of all court filings, and otherwise serve as local counsel. Ms. Sowray has
       advised me that she is a member in good standing of the bars to which she is admitted, specializes
       in the field of antitrust law, and is familiar with the facts of the case, issues, and pleadings. For
       these reasons, it is respectfully submitted that good cause exists for pro hac vice admission of Ms.
       Sowray.

              New Jersey respectfully requests that Your Honor enter an Order admitting counsel to
       represent the respective Plaintiff-State of Oregon pursuant to Local Civil Rule 101.1(c).




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      Your Honor’s time and consideration of this matter are greatly appreciated.

                                   Respectfully submitted,

                                   MATTHEW J. PLATKIN
                                   ATTORNEY GENERAL OF NEW JERSEY

                                   By:_______________________________
                                        Andrew F. Esoldi
                                        Deputy Attorney General
                                        Antitrust Litigation and Competition Enforcement
                                        124 Halsey Street, 5th Floor
                                        P.O. Box 45029
                                        Newark, New Jersey
                                        Telephone: (973) 648-7819
                                        Andrew.esoldi@law.njoag.gov

                                          Attorney for Plaintiffs New Jersey, Arizona,
                                          California, District of Columbia, Connecticut,
                                          Indiana,    Maine,    Massachusetts, Michigan,
                                          Minnesota, Nevada, New Hampshire, New York,
                                          North Dakota, Oklahoma, Oregon, Tennessee,
                                          Vermont, Washington, and Wisconsin

Encs.
CC: All Counsel of Record (via ECF)
